     Case 8:22-bk-11460-SC      Doc 30 Filed 08/16/24 Entered 08/16/24 13:14:17               Desc
                                 Main Document Page 1 of 2



 1   Anerio V. Altman, Esq. #228445
     Lake Forest Bankruptcy
     PO Box 515381
 2   Los Angeles, CA 90051                                         FILED & ENTERED
     Phone and Fax: (949) 218-2002
 3   avaesq@lakeforestbkoffice.com
     Counsel for                                                          AUG 16 2024
 4   Chapter 7 Trustee
     Richard A. Marshack
                                                                     CLERK U.S. BANKRUPTCY COURT
 5                                                                   Central District of California
                                                                     BY bolte      DEPUTY CLERK


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 9                          UNITED STATES BANKRUPTCY COURT
                SOUTHERN DISTRICT OF CALIFORNIA –SANTA ANA DIVISION
10

11
     In re: FCO GENESIS I, INC.               )    Case No.: 8:22-bk-11460-SC
12                                            )
                                              )    Chapter: 7
                                              )
13                                            )    ORDER AUTHORIZING THE TRUSTEE
                                              )    TO ABANDON THE PROPERTY OF THE
14                                            )    ESTATE
                                              )
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25                                           ORDER

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     Case 8:22-bk-11460-SC         Doc 30 Filed 08/16/24 Entered 08/16/24 13:14:17             Desc
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 1           On July 28th, 2024, Chapter 7 Trustee Richard A. Marshack filed a document titled

 2   “CHAPTER 7 TRUSTEE RICHARD A. MARSHACK’S REQUEST FOR AUTHORITY TO

 3   ABANDON THE ESTATE’S INTEREST IN PROPERTY OF THE ESTATE PURSUANT TO

 4   11 U.S.C. Sec. 554(a)” as docket #28. That request was filed and served in accordance with Local

 5   Rule of Bankruptcy Procedure 9013-1(o). No opposition was filed in the requisite time period

 6   after the request was filed and served.

 7          Therefore, based upon the moving papers, and good cause shown,

 8          IT IS ORDERED,

 9          1. The Trustee is authorized to abandon the property of the estate listed on Schedule A/B

10              of the petition; and

11          2. The Trustee is authorized to turn over the $619.58 held by the Trustee to Trustee’s

12              Counsel Anerio V. Altman.

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           Date: August 16, 2024
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25                                                ORDER

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